Case: 1:17-md-02804-DAP Doc #: 2208-3 Filed: 08/13/19 1 of 27. PageID #: 334657




                     PSJ11 CVS Opp Exh 3
Case: 1:17-md-02804-DAP Doc #: 2208-3 Filed: 08/13/19 2 of 27. PageID #: 334658
Case: 1:17-md-02804-DAP Doc #: 2208-3 Filed: 08/13/19 3 of 27. PageID #: 334659
Case: 1:17-md-02804-DAP Doc #: 2208-3 Filed: 08/13/19 4 of 27. PageID #: 334660
Case: 1:17-md-02804-DAP Doc #: 2208-3 Filed: 08/13/19 5 of 27. PageID #: 334661
Case: 1:17-md-02804-DAP Doc #: 2208-3 Filed: 08/13/19 6 of 27. PageID #: 334662
Case: 1:17-md-02804-DAP Doc #: 2208-3 Filed: 08/13/19 7 of 27. PageID #: 334663
Case: 1:17-md-02804-DAP Doc #: 2208-3 Filed: 08/13/19 8 of 27. PageID #: 334664
Case: 1:17-md-02804-DAP Doc #: 2208-3 Filed: 08/13/19 9 of 27. PageID #: 334665
Case: 1:17-md-02804-DAP Doc #: 2208-3 Filed: 08/13/19 10 of 27. PageID #: 334666
Case: 1:17-md-02804-DAP Doc #: 2208-3 Filed: 08/13/19 11 of 27. PageID #: 334667
Case: 1:17-md-02804-DAP Doc #: 2208-3 Filed: 08/13/19 12 of 27. PageID #: 334668
Case: 1:17-md-02804-DAP Doc #: 2208-3 Filed: 08/13/19 13 of 27. PageID #: 334669
Case: 1:17-md-02804-DAP Doc #: 2208-3 Filed: 08/13/19 14 of 27. PageID #: 334670
Case: 1:17-md-02804-DAP Doc #: 2208-3 Filed: 08/13/19 15 of 27. PageID #: 334671
Case: 1:17-md-02804-DAP Doc #: 2208-3 Filed: 08/13/19 16 of 27. PageID #: 334672
Case: 1:17-md-02804-DAP Doc #: 2208-3 Filed: 08/13/19 17 of 27. PageID #: 334673
Case: 1:17-md-02804-DAP Doc #: 2208-3 Filed: 08/13/19 18 of 27. PageID #: 334674
Case: 1:17-md-02804-DAP Doc #: 2208-3 Filed: 08/13/19 19 of 27. PageID #: 334675
Case: 1:17-md-02804-DAP Doc #: 2208-3 Filed: 08/13/19 20 of 27. PageID #: 334676
Case: 1:17-md-02804-DAP Doc #: 2208-3 Filed: 08/13/19 21 of 27. PageID #: 334677
Case: 1:17-md-02804-DAP Doc #: 2208-3 Filed: 08/13/19 22 of 27. PageID #: 334678
Case: 1:17-md-02804-DAP Doc #: 2208-3 Filed: 08/13/19 23 of 27. PageID #: 334679
Case: 1:17-md-02804-DAP Doc #: 2208-3 Filed: 08/13/19 24 of 27. PageID #: 334680
Case: 1:17-md-02804-DAP Doc #: 2208-3 Filed: 08/13/19 25 of 27. PageID #: 334681
Case: 1:17-md-02804-DAP Doc #: 2208-3 Filed: 08/13/19 26 of 27. PageID #: 334682
Case: 1:17-md-02804-DAP Doc #: 2208-3 Filed: 08/13/19 27 of 27. PageID #: 334683
